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RODNEY ALLEN WOODRUFF PLAINTlFl~`
VERSUS CIVIL ACTION NO. 3 § llz(: M il (,QCQ DHB:_A/oé/
MONSANTO COl\/IPANY DEFENDANT

COl\/IPL/\INT

PLAINTIFF REQUESTS JURY TRIAL

Comes the Plaintil`i`. Rodney Allen Woodrut`t`, through his attorneys and files this his
Complaint against the Defendant, l\/lonsanto Cornpany_. and in support hereof would show unto
the Court the following l`acts, to-wit:

l.

Plaintii`i`, Rodney Allcn Woodruf`l`is an adult resident citizen ol`lssaquena County,
Mississippi.

2.

The De'l`endant, l\/lonsanto Corporation, is a publicly traded Delaware corporation which
does business worldwide and is qualified and licensed to business in the state ofl\/lississippi. lts
legal address is 800 North Lindbergh Blvd.,St. Louis, l\/lissouri, 63167. The process of this Court
may be had on l\/ionsanto Cornpany by serving Corporation Service Company, 5760 1-55 North,
Suite 150, Jacksen. l\/lississippi, 3921 l, its registered agent for process within the state oi`
Mississippi.

3.
This Court hasjurisdiction over the parties and the subject matter ol` this cause ol` action

pursuant to 28 U.S.C. § 1332, by reason ol`complete diversity oi` citizenship between the Plaintil`l`

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and the Defendant and the amount in controversy being in excess of Seventy Five Thousand
Dollars ($75.000.00), exclusive of interests and costs.
4.

Monsanto Company designed, engineered, manufactured and sold certain agricultural
chemicals known as Roundup and Roundup ProMax herbicide. Said products contain
Potassium salt of N-(phosphonomethyl) glycine (Potassium salt of glyphosate), along with other
ingredients, the specific chemical identies of which were withheld because they were claimed to
be trade secret information of Monsanto Company.

5.

Monsanto Corporation, through its distributors in the State of Mississippi sold to Rodney
Allen Woodruff Roundup and Roundup ProMax herbicide with knowledge of its intended use by
Rodney Allen Woodruff of spraying growing crops on lands he farmed in Mississippi.

6.

For approximately 30 years prior to November, 2014, Rodney Allen Woodruff utilized
Roundup and Roundup ProMax to spray his 3000 to 12000 acres of farm crops by use of
agriculturall aircraft spray and outrigger land rig sprayer with extended row width booms. At all
times while using Roundup and Roundup ProMax, Rodney Allen Woodruff took precautionary
measures iwearing of protective clothing, respiratory masks and goggles to prevent exposure to
the sprayed chemicals Unbeknown to Rodney Allen Woodruff were the fallacies of the
Material Safety Data Sheets for both Roundup and Roundup ProMax and the labels which were
contained on the containers of Roundup and Roundup ProMax herbicide sold to him by the

Defendant.

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7.

Af`ter the many years of use in his farming operations applying Roundup and Roundup
ProMax, on November 10, 2016, Rodney Allen Woodruff was diagnosed with Mantle Cell
Non-Hodgkins Lymphoma. Mantle Cell Non-Hodgkins Lymphoma is latent disease the first
symptoms of which were first manifested in Rodney Woodruff in November, 2016 at M.D.
Anderson Cancer Center in Houston, Texas to which Rodney Woodruff was referred by his local
physicians

8.

Plaintiff"s Mantel Cell Non Hodgkins Lymphoma was proximately caused and
proximately contributed to by the many years of exposure to and use of Roundup and Roundup
ProMax by Rodney Allen Woodruff. Said products are toxic to human beings and proximately
cause and proximately contribute to the cause of the Mantle Cell Non-I-Iodgkins Lymphoma
which developed in Rodney Allen Woodrust body.

9.

Monsanto Company Sold Roundup and Roundup ProMax Herbicide through its
distribution network to Rodney Allen Woodruff. Said products were was anticipated to be used
as a sprayed on chemical to control weeds, grasses and other non-crop plants in his farm fields..

10.

Plaintiff alleges and will show that Monsanto Company knew that Roundup and Roundup
ProMax were toxic to human beings who came into skin or respiratory contract with the sprayed
chemicals contained in said products ln fact, Monsanto Company contended just the opposite
disseminating untruthful information and printed materials and representing to the United States

Department of Envorinmental Quality that said products were non-toxic and were non-

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carconigenic. Plaintiff further alleges that Monsanto Company conspired with an official of the
Department of Ennvorinmental Quality and participated in the preparation of the report issued
by the Department of Envorinmental Quality that said products were not harmful to human
beings and would not cause or contribute to the cause of cancer, when in fact, it knew that
Roundup and Roundup ProMax would and did cause cancer in those individuals who were
constantly and extensively exposed to same while using said products for agricultural purposes
on large scale farming operations, including spraying via aircraft and land mobile spray rigs.
ll.

Plaintiff charges that both Roundup and Roundup MaxPro were defectiver dangerous
and that said defect proximately caused and proximately contributed to the Plaintiff’s injuries and
damages and his development of Mantle Cell Non Hodgkins Lymphoma cancer. Said products
were defective in the following particulars:

a. Roundup and Roundup ProMax were designed in a defective manner;

b. Roundup and Roundup ProMax failed to conform to the express factual representations

upon which Rodney Allen Woodruff justifiably relied and had a right to rely in deciding

to use same, so that said products breached the implied warranty of fitness to be used
safely on the farm to control weeds and other grasses and plants, without causing

Plaintiff to develop cancer as a result of exposure to same while they were being used for

their intended use and purpose;

c. 'l`he defective and unreasonably dangerous condition of Roundup and Roundup

ProMax was known to Monsanto Company and it failed to warn Rodney Allen Woodruff

and other farmers who used same extensively and who were exposed substantially to the

chemicals contained in said products which were known to Monsanto Company to

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contain cancer causing compounds and chemical formulas.

d, Monsanto Company knew, or in the light of reasonably available knowledge knew or
should have known of the dangers of Roundup and Roundup ProMax caused cancer and
Rodney Allen Woodruff, as an ordinary user or consumer, had no knowledge of or
appreciation the dangers of using Roundup and Roundup ProMax of as indicated by the
labeling furnished for the use of said product, would not and did not realize the cancer
causing dangers posed by said products. Neither Roundup nor Roundup ProMax
contained an adequate product warning or instruction that a reasonably prudent chemical
manufacturer would have provided with respect to that danger and which failed to
communicate to Rodney Allen Woodruff sufficient information on the dangers and safe
use of said products, taking into consideration the characteristics of, and the ordinary
knowledge common to an ordinary consumer and farmer who purchased and used said
products. He did not voluntarily expose himself to the dangers posed by said products
about which he did not know or appreciate so that he did not register any assent to
continuance of the dangerous conditions of same. Both Roundup and Roundup ProMax
were dangerously defective due to the lack of an adequate warning. Said defect
proximately caused and proximately contributed to the injuries and damages sustained by

Rodney Allen Woodruff.

12.
Monsanto Company is strictly liable in tort for the damages proximately caused to
Rodney Allen Woodruff by Roundup and Roundup ProMax, because at the time the said

products left the hands of Monsanto Company, each was defective and dangerous No changes or

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alterations in said products were made between the time they left the hand ofl\/Ionsanto
Company and the use of same by Rodney Allen Woodruff. Said defects rendered Roundup and
Roundup ProMax dangerously defective. Said defects proximately caused and proximately
contributed to the injuries and damages sustained by Rodney Allen Woodruff.

13.

Plaintiff charges that Roundup and Roundup ProMax were each defective because of
their chemical engineering design. ln the light of reasonably available knowledge in the exercise
of reasonable care Monsanto Company knew or should have known about the danger posed by
said products which caused the injuries and damages to Rodney Allen Woodruff and both
products failed to function as expected, that is, to be used extensively in farming operations
without the dangers of causing cancer to the users of same, including Rodney Allen Woodruff
There existed feasible alternative design of chemical formulas and composition which would, to
a reasonable probability, have eliminated or prevented his injuries without impairing the utility,
usefulness, practicality or desirability of Roundup or Roundup ProMax to users or consumers of
said products Monsanto Company was negligent in the design of Roundup and Roundup
ProMax. Said negligence proximately caused and proximately contributed to the cause of Rodney
Allen Woodruff developing Mantle Cell Non Hodgkins Lymphoma, his injuries and damages

14.

As a direct and proximate result of his exposure to Roundup and Roundup ProMax,
Rodney Allen Woodruff has sustained damages in the following categories:

a. severe pain, suffering, mental anguish and loss of enjoyment of life, past and future.

b. incurring medical expenses for the diagnosis and treatment of his cancer in the form of

biopsies, surgeries, chemotheapy, medications and other items of related medical

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expenses in an amount of at least 3500,000. 'l`hat he can reasonably expect to incur

sizeable additional sums in the future for the treatment of his injuries.

c. Lost earnings resulting from total disability amount to at least $100.000 per year.

d. permanent loss ofhealth and damage to his body resulting from the cancer caused by

Roundup and Roundup ProMax.

That all of said damages were proximately caused and proximately contributed to by the
Strict Liability. negligence and breach of warranty by the Defendant. Monsanto Company.

Wherefore, Plaintiff demands Judgment against Monsato Company in an amount in
excess ofthejtu‘isdictional threshold of this Court, to be set by the jury or trier of fact, together

with interest at the legal rate thereon until paid, and all costs.
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ames W. Nobles, Jr

James W. Nobles, Jr.

Miss. Bar No. 3873

Texas Bar No. 15053040

201 Clinton Parkway

Clinton, Mississippi, 39056~9442
Telephone: 601-926-] 912

Fax: 601-926-1914
e-mail:nobleslaw@gmail.com

 

and

Travis T. Vance, Jr.

Miss. Bar No. 6085

914 Grove Street

Vicksburg, Mississippi, 39180

Telephone: 601-638-0046

Fax: 601-638-]673
e-mail:travis(r_Dvancebonnerlaw.com

Attorneys for Plaintiff, Rodney Allen Woodruff

